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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
Vv. CASE No. 8:20-cr-77-T-36TGW

JOSE ISMAEL IRIZARRY

 

Defendant’s Consent to the Court's Inspection of Presentence Report
Prior to Plea of Guilty, Nolo Contendere, or Finding of Guilt

I, JOSE ISMAEL IRIZARRY, hereby consent to review of my pre-
sentence report by a judge at any time, including the time prior to entry of a plea
of guilty or nolo contendere or a finding of guilt.

I have read, or had read to me, the foregoing consent and fully
understand it. No promise has been made to me as to what the final disposition
of my case will be.

G-_IH- do fs
Date Signature of Defendant

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Date Defendant's Attorney

 

 
